                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                    )   Chapter 11
                                                          )
Squirrels Research Labs LLC et al.,1                      )   Case No. 21-61491
                                                          )   (Request for Joint Administration Pending)
                          Debtors.                        )
                                                          )   Judge Russ Kendig


     MOTION OF DEBTORS TO SHORTEN TIME TO RESPOND TO, AND EXPEDITE
     THE HEARING ON THE MOTION FOR AN ORDER (A)(I) ESTABLISHING AND
    APPROVING BID PROCEDURES RELATED TO THE SALE OF CERTAIN OF THE
        DEBTORS’ ASSETS PURSUANT TO 11 U.S.C. § 105(A), INCLUDING THE
         DESIGNATION OF A STALKING HORSE BIDDER AND RELATED BID
       PROTECTIONS; (II) APPROVING CONTRACT/LEASE ASSUMPTION AND
      ASSIGNMENT PROCEDURES AND THE FORM AND NOTICE THEREOF; (III)
    SCHEDULING THE AUCTION; (IV) SCHEDULING A HEARING AND OBJECTION
     DEADLINE WITH RESPECT TO THE SALE; (V) APPROVING THE FORM AND
        NOTICE THEREOF; AND (VI) GRANTING RELATED RELIEF; AND (B)(I)
         AUTHORIZING SALE OF CERTAIN OF DEBTOR’S PROPERTIES FREE
         AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS
            PURSUANT TO 11 U.S.C. §§ 105 AND 363; AND (II) APPROVING
         ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
            UNEXPIRED LEASES; AND (C) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors-in-possession (each a “Debtor” and collectively,

the “Debtors”), in the above-captioned Chapter 11 cases (the “Cases”), hereby move (the

“Motion”) pursuant to §§ 102 and 105 of Title 11 of the United States Code (the “Bankruptcy

Code”) and Rules 2002(a)(6), 9006(c) and 9007 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and Rule 9013-1 of the Local Rules of Bankruptcy Procedure (the

“Local Rules”) to shorten the response time and expedite the hearing for its Motion for an Order:

(A)(I) Establishing and Approving Bid Procedures Related to the Sale of Certain of the Debtors’



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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Assets Pursuant to 11 U.S.C. § 105(A), Including the Designation of Stalking Horse Bidder and

Related Bid Protections; (II) Approving Contract/Lease Assumption and Assignment Procedures

and the Form and Notice Thereof; (III) Scheduling the Auction; (IV) Scheduling a Hearing and

Objection Deadline with Respect to the Sale; (V) Approving the Form and Notice Thereof; and

(VI) Granting Related Relief; and (B)(I) Authorizing Sale of Debtor’s Properties Free and Clear

of Liens, Claims, Encumbrances, and Interests Pursuant to 11 U.S.C. §§ 105 and 363; and (II)

Approving Assumption and Assignment of Executory Contracts and Unexpired Leases; and (C)

Granting Related Relief (the “Sale Motion”). In support of this Motion, the Movant respectfully

represents as follows:

                                        JURISDICTION

       1.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

Venue for this proceeding and this Motion is proper in this District pursuant to 28 U.S.C. §§ 1408

and 1409. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                                        BACKGROUND

       2.      On November 23, 2021, the Debtors each filed a voluntary petition for relief under

subchapter V of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). There

is a request pending for the joint administration of the cases for procedural purposes only.

       3.      The Debtors are operating their businesses as debtors and debtors-in-possession

pursuant to 11 USC § 1184. No trustee, examiner, or official committee of unsecured creditors has

been appointed in Debtors’ cases.

       4.      The factual background supporting this Motion is set forth in the Declaration of

David Stanfill filed with the Court on November 23, 2021.




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       5.      Contemporaneously with the filing of this Motion, the Debtor has filed the Sale

Motion.

                                    RELIEF REQUESTED

       6.      The Movant seeks an order, pursuant to §§ 102(1)(B) and 105 of the Bankruptcy

Code, Bankruptcy Rules 9006(c) and 9007, and Local Rule 9013-1: (i) shortening the time to

respond to the Motion; and (ii) expediting the hearing on the Motion.

       7.      Pursuant to Local Bankruptcy Rule 9013-1(a), all persons entitled to notice must

be afforded fourteen (14) days’ notice of a particular motion, or such other time as specified by

statute or order of the Court. Further, Bankruptcy Rule 9006(c) expressly provides that the Court,

for cause shown, may reduce the notice period with or without notice. The Movant submits that

cause exists as required by the aforementioned Bankruptcy Rules for shortening the notice period.

       8.      Movant seeks to expedite consideration in order that the process of establishing

procedures for the sale of the Debtors’ assets can be set in motion so that (1) the Debtors’

operations can be stabilized, (2) the assets can be exposed to the market promptly, and (3) the

timeline set forth in the Sale Motion can be kept. Movant further states that counsel for Avnet,

Squirrels Research Labs LLC’s secured lender has reviewed the Motion and has indicated no

objection by email to Movant’s counsel.

       Therefore, cause exists for shortening the notice period such that responses will be due on

November 30, 2021 by 11:59 p.m. (EST).

       Movant therefore requests that the Court schedule a hearing on this matter for December

1, 2021 at 2:00 p.m. (EST), to be held only if objections are timely filed and served.




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       WHEREFORE, Debtors respectfully request that the Court enter an order substantially in

the form attached hereto as Exhibit A, granting the relief requested in this Motion and granting

such other and further relief as is appropriate under the circumstances.

Dated: November 23, 2021                      Respectfully submitted,

                                              /s/ Julie K. Zurn
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